          Case
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 6
     Attorney for Plaintiff
 7   United States of America

 8

 9                     UNITED STATES DISTRICT COURT
10                          DISTRICT OF NEVADA
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11

12   UNITED STATES OF AMERICA,                      )
                                                    )   Case No.: 2:16-cr-00262-JAD-PAL
                    Plaintiff,                      )
13                                                  )   MOTION UNDER LR IA 11.3 FOR
                                                    )   DEPARTMENT OF JUSTICE TRIAL
14          vs.                                     )   ATTORNEYS TO APPEAR IN THIS COURT
                                                    )   ON BEHALF OF THE UNITED STATES.
15   GLEN BURKE and                                 )
     MICHAEL ROSSI aka MIKE ROSS,                   )
16                                                  )
                                                    )
                    Defendants.                     )
17                                                  )
                                                    )
18                                                  )
                                                    )
19                                                  )

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21          The United States of America, by and through Daniel Schiess, Chief, Criminal Division,

22   Assistant United States Attorney, respectfully moves, pursuant to LR IA 11.3, that the United

23   States Department of Justice, Consumer Protection Branch, Trial Attorneys Timothy T. Finley

24   and Daniel E. Zytnick, be permitted to appear before this Court in the above captioned case. Mr.
          Case
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 1   Finley and Mr. Zytnick are employed by the United States as attorneys, and, in the course and

 2   scope of their employment, have occasion to appear before the Court on behalf of the United

 3   States in connection with the above-captioned matter.

 4          Dated this the 29th day of September, 2016.

 5                                                           Respectfully Submitted,

 6
                                                             /s/ Daniel Schiess
                                                             ___________________________
 7                                                           DANIEL SCHIESS
                                                             Chief, Criminal Division
 8                                                           Assistant United States Attorney

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10
     IT IS SO ORDERED: __________________________________________________
11
                UNITED STATES DISTRICT JUDGE
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13           10/17/2016
     Dated: ______________________________

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